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EXHIBIT 3
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- 3
IN THE UNITED STATES DISTRICT COURT 4 INDEX
FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: LEWIS WESLEY CARNAHAN
IN RE: NEURONTIN MARKETING, SALES } 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY } 4 Page/Line
LITIGATION ) 5 ByMr. Ferguson... 67
) G6 ByMr. Soho FT 16
) 7 By Mr. Ferguson... eee 737
) 3
g
)
) CASE NO. 10
11
}04-10981
12
THIS DOCUMENT RELATES TO: } 13
} 14
RUTH SMITH, Individually and as} 45
Widow for the use and benefit of ) 16
herself and the next of kin of =} 47
Richard Smith, decaased. ) 18
) 49
05-CV-11515 } 20
) 21
VIBEOTAPED DEPOSITION OF 22
LEWIS WESLEY CARNAHAN, fl, PHARM.D. 23
Taken on Behalf of the Defendant 24
October 23, 2007 25
2 4
1. APPEARANCES; 1
; For ae Ne Th 5. SoH 2 The videotaped deposition of
MAURA C. KOLB 3. LEWIS WESLEY CARNAHAN, II, PHARM.D., taken on
4 Lanier Law Firm 4 behalf of the Defendant, on the 23rd day af
5 Shaten Toe o7069 5 October, 2007, in the John Hood Conference Room of
713.659.5200 6 Sheraton Music City Hotel, 777 McGavock Pike,
6 713.659.6416 7 ‘Nashville, Tennessee, for all purposes under the
7 Kevtlonierlawtrmcomn 8 Federat Rules of Civil Procedure.
meck@lanieriawfirm.com 9 The formalities as to notice,
8 D 10 caption, certificate, et cetera, are waived. All
9 For the Defendant: oo.
10 KENNETH J. FERGUSON 11 abjections, except as to the form of the
Clark, Thomas & Winters 12 questions, are reserved to the hearing.
" uci ae ere? 13 It is agreed that Elisabeth A.
ustin, Texas
12 512.472.8800 14 Miller, being a Notary Public and Court Reporter
512.474.1129 15 forthe State of Tennessee, may swear the witness,
Q kii@etw.com 16 and that the reading and signing of the completed
Also Present: Amanda Martin, Videographer 17 deposition by the witness are waived.
15 Jason Powers, Videographer 18
16
47 19
18 20
49 2 wae
20
21 22
22 23
23 24
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25 25
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17 19

1 up to his back surgery that he had in 2003? 1 date. But can you remember the general time frame
2 A. Yes. 2 when you became aware that he was taking

3. @ How about after his back surgery, which | 3. Neurontin?

4 believe the records say was -- was done on 4 A. [believe it was the Sunday before he

5 April 1st of 2003, between that time and the time 5 committed suicide.

6 of his death in May of 2004, did you have 6 @. Okay. And - and as | recall, the — he

7 discussions with him about any ongoing pain that 7 died on May the 13th; is that correct?

& he had? 8 A. Yes.

9 AL Yas. 9 Q. ~~ And | believe that was a Thursday; am |

19 Q. — Is there any way, to your recollection, 10 correct about that?

11 that you can tell us whether or not the -- the 1.=A Yes,

12. pain he was complaining about in, let's say, the 12. Q. Sacounting back, if | can count

43° couple of months before his death was any 13 correctly -- maybe you can help me. What does
44 different or more frequent in terms of his 14 that make Sunday, the 8th or 9th?

45 conversation with you as compared to the pain he 15 MS. KOLB: The 8th, | think.

16 was complaining about before his back surgery in 16 MR, FERGUSON: Thank you.
47-2003? 17. BYMR. FERGUSON:

18 A. Not that I'm aware of, no. 18 Q. About the 8th of May was the first time

19 Q, — So, again, not trying to put words in your 19 that you learned that Richard Smith had ever been
20) =mouth, But as | understand what you're saying in 20. on Neurontin; is that correct?
21 ~~ response to my question was generally from your 21 AL Yes.
22 ~~ discussions with him, his comments about the pain, 22 Q. So —and we'll talk about how you became
23 the frequency and the intensity were about the 23s aware of that on that date. But obviously before
24 — same in the couple of months before his death as 24 May 8, Richard had never come to you and asked
25 they had been back in 2003, even before his back 25 about Neurontin in relationship to side effects as

48 20

1 surgery; is that a fair statement? 1 you -- we talked about earlier?

2 MR. SQH: Objection to form. 2 A. No,

3 MR. FERGUSON: Gkay. 3. Q.- Okay.

4 MR. SOH: That's teading. But if he 4 A. Hehad never come ta me, but that wasn't
5 can answer it, go ahead. 5 unusual,

6 BY MR. FERGUSON: 6 @. Right.

7 @. Is --is that — is that correct? 7 A Right.

8 <A, _ Restate the question, please, 8 QQ. You indicated that he occasionally would

§ Q. Sure. My understanding of what you told 9 come to you about some medications?

10 us a moment ago is that his pain, in terms of what 10 A. Right.

11. he told you about, was no different in the couple 11  Q. Atleast before May 8th of 2004, that had
12 — of months before his death as it — as compared to 12. never occurred with respect to Neurontin?

13 ‘the first sevaral months of 20037 13° °=A. Correct.

14 MR. SOH: Objection, form. 14 @. And -- and | take it from -- from your

15 THE WITNESS: He didn’t complain of 15 answer as well that you had never learned before
16° any increased pain —- 16 9 May 8th of 2004 from another source such as

17 «BY MR. FERGUSON: 17) Ruth Smith or your wife, Donna, from any other
18 Q. Okay. 18 source that he had been on Neurontin?

19 A. —over the pariod. 49 «=A. Correct.
20 Q. Fair enough. 20. And how did it come about on May 8th of
21 Did you at some point become aware that -- 21 = 2004 that you learned that Richard was taking a
22 that Mr. Smith was taking a drug called Neurontin? 22 = medication called Neurontin?

23. =A. SOYe@s. 23° A. Hecame to me. We were ala gathering at
24 @.  Anddo you recall about when that was? 24 = Sherri's house. | think it was somebody's

25 ~~ Again, I'm not expecting you to know a specific 25 birthday, and we had -- | think we had eaten

 

 

 

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21 23
1 already, and we were just talking. 1 A. Because patients that | have seen have
2 He pulled me aside and asked me about -- 2 also described similar side effects to me.
3 he didn't ask me about side effects. He described 3. Q. | Okay. Side effects from Neurontin?
4 side effects to me and asked if | thought it was 4 AL Yes.
§ — the Neurontin. 5 Q. And these are patients who you have —
6 Q. Tell me what side effects ha described to 6 have seen in your pasition as a pharmacist at the
7 you, please, 7 VA Medicai Center?
8 <A. He told me that he was feeling loopy. He 6 A. Yes, patients that I've come in contact
9 did not feel like himself since taking the 9 with at the VA.
70 ~~ Neurontin. 10 Q, Did you have any discussion with
41. @. Did he tell you on that day, May 8th of 11. Richard Smith on May 8th about why ha was taking
12 2004, how long he hac been taking Neurontin? 42 Neurontin?
13° A No. 13° =A. [knew he was naving some pain, so that
14. Q. Did he tell you anything about what dosage 14 was my assumption. .
16 of Neurontin he was taking? 16 @Q. Okay. So he didn’t say, I'm taking
16 A. No. 16 Neurontin for pain; but you knew he was in pain,
17. Q. He simply said that he was taking 17 so you assumed he was taking it for pain’?
18 Neurontin, and he felt loopy and didn’t feel like 18 A. That was my assumption,
19 himself? 19 Q. Andhad you seen - the other patients you
20 A Yes. 20 had seen who had taken Neurontin, ware some of
21. Q. ~~ Any other side effects that he described 21. them aiso taking it for pain?
22 to you on — during that conversation on May &th 22 6A Yes.
23 sof 2004? 23. Q. ~~ Sed | understand the conversation
240A. Not that | recall. 24s correctly, he pulled you aside, said he was taking
259 @. ~~ And did he either volunteer or did you ask 25 Neurontin; could it make him feel loopy and feel
22 24
4 him what he meant by feeling loopy? 1 like he didn’t feel ike himself? You said, yes,
2 MR. SOH: Objection, form. 2 ‘I've seen that in other patients. Where did the
3 Answer. Goon. When | object, go 3s conversation go next, if — if it continued?
4 ahead and answer. 4 A. Ididn't tel! -
5 BY MR. FERGUSON: 5 MR. SOH: Objection. | think it
6 QQ. tfhe doesn't want you to answer, he'll 6 mischaracterizes his testimony.
7 specifically tell you, I'm sure, not to answer. 7 But go ahead and answer.
& A. imstill thinking also. & BY MR. FERGUSON:
8 QQ. Take your time. f{'m not trying to nish 9 Q@. Okay.
10° syou. . 16 A. I did not tell him that | had seen that in
11. A. I don't recall anything offhand, anything 11. other patients. | just said, as | stated earier,
42 ~— additionally ihat he said. He just kept saying 12 it was a possibility.
13 that it made him loopy; he didn’t feel like 13. QQ. Okay. So when he asked you the question,
14 himsetf. And that was the main side effect that 14 you simply said, yes, it’s a possibility?
15 bothered him, so that's what he brought up with me 156 A. Yes.
16 in that conversation. 16 Q. And the basis for you saying, yes, it's a
17 Q@. And was his question to you, | feel 17 — possibility was the other patients you have — you
18 like ~ | feel loopy and don't feel like myself; 18 had seen?
19 could the Neurontin I'm taking be causing that? 19 A. Yes.
20 = fs that what ha asked you? 20 «Q.~ Anything else? Any other further
21 =A. Yes, that was what he was asking. 21 ~~ conversation on that day about Neurontin?
22 @ Okay. And what did you tell him? 22 A. No. ,
23. A. si told him that it was a possibility. 23° Q. ~~ Do you know what doctor had prescribed
24° Q. And how did you know or believe that was a 24 = Neurontin for him’?
29 possibility? 25 A. No, he never told me.
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57 58

1 need back surgery, left and right rotator cuffs, 1 “Lhave talked to God all night, and he

2 right bicap torn, back surgery to correct pain in 2 understands.”

3 legs," correct? , 3 I'm not denying he was in some pain.

4° A Yes, 4 He had always had a little pain, and | understand
5 Q. Okay. So clearly that part of the — the § that.

6 note is talking about pain and potential surgery; 6 BY MR. FERGUSON:

7 is that fair? 7 Q. And —and, again, you used the word —

8 A. Yes. 8 = 'mnot trying to pick you on it. | just want to

9 Q. Okay. And then he says, “Forgive me, | 9 make -- understand. You said he always had a
10 cannot go on like this," correct? 10 ~~ s(little pain. Are you saying that the pain that he

11 AL Yas. 11 hadin the months jeading up to his death was a
12. Q. And then he goes on and says, "! cannot 12 ~~ littla pain?

13 have my body, the temple of the Holy Spirit, cut 13. A. So far as | know, he always had the same
14 on anymore. I've talked to God all night, and he 14 level, which was a little pain.

45 understands," correct? 16 Q. Okay. Do you know if the medical records
46 «AL Yes. 16 = reflect that he had a little pain or -

417) 0 6G.) Would it be true that a - that a fair 17. A. st never saw them.

18 = reading of at least that statamant is that 18 QQ. --alot of pain?

19 Mr. Smith di what he did because of the pain that 19 Would the note make more sense to you -- |
20 = he was having? 20 ~—srealize we're in a raalm of subjectivity here.

21 MR. SOH: Objection, form, 2% =But would the note make more sense to you if there
22 THE WITNESS: I'm not trying to 22. ~=were al feast several instances in which Mr, Smith
23° argue — be argumentative. 23 ~—sohad specifically told someone that he either

24 BY MR. FERGUSON: 24 ~~ wanted to die or was contemplating suicide?
25  @. That's all right. 25 MR. SOH: Objection to form.

58 60

4 A. Pain is mentioned in there, but that’s not 1 THE WITNESS: | just can’t envision

2 ~~ what! —[ mean, you're asking me to read his 2 him ever feeling that way.

3. so mind, and that's not what | get out of it. 3. BY MR. FERGUSON:

4 Q. Okay. Tellus what you get out of it. 4 Q.  Evenifhe said it, you wouldn't think he

5 A. Painis mentioned, but the note really 5 would fee! that way?

6 doesn't make a lot of sense for such a godly man 6 MR. SOH: Objection to form, myriad

7 like Richard. He talks about the surgeries, and 7 ~~ of speculation and other problems with that

8 he talks about that his body was the temple of the 8 = question.

8 ~~ Holy Spirit, and he'd talked to God and God said 9 But go ahead.

10 he understood. That -- | mean, that's what really 40 THE WITNESS: Sometimes | say I'm so
11 stood out in my mind when | first read the note 71. hungry | could eat a horse, but | would never eat
42. — and still does even today. 12. ahorse. That's how | would think that he meant
43 So | know pain is mentioned, but that's 13. sitif he had ever said that to me, which, like |

44° not, you know, the thing that jumps out at me, 14 said, | never heard him say that.

46 — knowing Richard. 15 MR. SOH: Withcraw my objection. |

16 #Q. And | just want to make sure | understand 16 like that answer.

17 ~~ what you're saying. You -- you say he’s a godly 17 MR. FERGUSON: Can we stick with

18 9 man, and — and the note doesn't make sense in 18 = objections for a while.

19 light of that? Is that what you're saying? 19 MR. SOH: Yes, sir, sorry.
20 MR. SOH: Objection, fom. 20 MR. FERGUSON: Gkay.

21 THE WITNESS: Yes, because he was a 21 MR. SGH: Sorry, Mr. Ferguson.

22 godly man, and, you know, he — the note was 22 MR. FERGUSON: Okay. We can object.
23 irrational, is illogicai as far as knowing Richard 23° We don't have to wave our hands.

24 and that he knew suicide was wrong, And for him 24 BY MR. FERGUSON:
25 to take his life, especially with the statement, 25 Q. __sI take it that as -- as a pharmacist

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